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                                                        UNITED STATES DISTRICT COURT

                                                        FOR THE DISTRICT OF NEW JERSEY


                          Benjamin H. Haftel, Esq. (ID# 030331989)
                          HOAGLAND, LONGO, MORAN, DUNST & DOUKAS, LLP
                          40 Paterson Street, PO Box 480
                          New Brunswick, NJ 08903
                          (732) 545-4717
                          Attorneys for Defendant
                          Sanjay K. Jain, M.D.

                           UNITED STATES OF AMERICA and the                    Civil Action No.: 2:12-cv-03319-SDW-SCM
                           STATES OF NEW JERSEY and NEW YORK,
                           ex rel. KENNETH W. ARMSTRONG,                       ANSWER TO SECOND AMENDED FALSE
                                                                                    CLAIMS ACT COMPLAINT
                           Plaintiffs and Relator,

                                  vs.                                          Document Electronically Filed

                           ANDOVER SUBACUTE AND REHAB
                           CENTER SERVICES ONE, INC.; ANDOVER
                           SUBACUTE AND REHAB CENTER
                           SERVICES TWO, INC, ESTATE OF DR.
                           HOOSHANG KIPIANI; DR. SANJAY JAIN;
                           and DR. BORIS FREYMAN

                           Defendants.



                                 Defendant Sanjay K. Jain, M.D., by way of Answer to Relator’s Second Amended False

                          Claims Act Complaint, says:

                                                                  INTRODUCTION

                                 1.      Defendant Sanjay K. Jain denies the allegations contained in Paragraph 1 of Relator’s

                          Second Amended False Claims Act Complaint to the extent that the allegations may be deemed

                          directed against this Defendant.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP                      2.      Defendant Sanjay K. Jain denies the allegations contained in Paragraph 2 of Relator’s
40 PATERSON STREET
NEW BRUNSWICK, NJ
08901
                          Second Amended False Claims Act Complaint to the extent that the allegations may be deemed
701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        directed against this Defendant
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701                                    FEDERAL JURISDICTION AND VENUE




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                                 3.     Defendant Sanjay K. Jain admits the allegations contained in Paragraph 3 of Relator’s

                          Second Amended False Claims Act Complaint.

                                 4.     Defendant Sanjay K. Jain admits the allegations contained in Paragraph 4 of Relator’s

                          Second Amended False Claims Act Complaint.

                                 5.     The allegations contained in Paragraph 5 of Relator’s Second Amended False Claims

                          Act Complaint are not directed against this Defendant and, therefore, no answer is made to these

                          allegations except to deny any such allegations which may be deemed to be directed against this

                          Defendant

                                 6.     The allegations contained in Paragraph 6 of Relator’s Second Amended False Claims

                          Act Complaint are not directed against this Defendant and, therefore, no answer is made to these

                          allegations except to deny any such allegations which may be deemed to be directed against this

                          Defendant.

                                 7.     The allegations contained in Paragraph 7 of Relator’s Second Amended False Claims

                          Act Complaint are not directed against this Defendant and, therefore, no answer is made to these

                          allegations except to deny any such allegations which may be deemed to be directed against this

                          Defendant

                                 8.     The allegations contained in Paragraph 8 of Relator’s Second Amended False Claims

                          Act Complaint are not directed against this Defendant and, therefore, no answer is made to these

                          allegations except to deny any such allegations which may be deemed to be directed against this

                          Defendant.

                                                                        PARTIES

                                 9.     Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 9 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 10.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 10 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 11.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 11 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 12.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 12 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 13.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 13 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 14.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 14 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 15.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 15 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 16.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 16 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 17.    Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 17 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                    18.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 18 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                    19.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 19 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                    20.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 20 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                    21.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 21 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                    22.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 22 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                    23.   With regard to the allegations contained in Paragraph 23 of Relator’s Second

                          Amended False Claims Act Complaint, Defendant admits that he has practiced medicine in

                          Hackettstown, New Jersey, among other locations. Defendant further admits that was also an

                          attending physician for patients at the Andover facilities. Defendant is without knowledge or

                          information sufficient to form a belief as to the truth of the remaining allegations contained in

                          Paragraph 23 of Relator’s Second Amended False Claims Act Complaint and leaves Relator to his

                          proofs.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                    24.   Defendant is without knowledge or information sufficient to form a belief as to the truth
40 PATERSON STREET
NEW BRUNSWICK, NJ         of the allegations contained in Paragraph 24 of Relator’s Second Amended False Claims Act
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Complaint and leaves Relator to his proofs.
HAMMONTON, NJ 08037

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                                                 STATUTORY AND REGULATORY BACKGROUND




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                                 25.    The allegations contained in Paragraph 25 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 26.    The allegations contained in Paragraph 26 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 27.    The allegations contained in Paragraph 27 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 28.    The allegations contained in Paragraph 28 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 29.    The allegations contained in Paragraph 29 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 30.    The allegations contained in Paragraph 30 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          these allegations except to deny any such allegations which may be deemed to be directed against
40 PATERSON STREET
NEW BRUNSWICK, NJ         this Defendant.
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202               31.    The allegations contained in Paragraph 31 of Relator’s Second Amended False
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to




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                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 32.    The allegations contained in Paragraph 32 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 33.    The allegations contained in Paragraph 33 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 34.    The allegations contained in Paragraph 34 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 35.    The allegations contained in Paragraph 35 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 36.    The allegations contained in Paragraph 36 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 37.    The allegations contained in Paragraph 37 of Relator’s Second Amended False
40 PATERSON STREET
NEW BRUNSWICK, NJ         Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        these allegations except to deny any such allegations which may be deemed to be directed against
HAMMONTON, NJ 08037

169 MAPLE AVENUE
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                          this Defendant.




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                                 38.     Defendant denies the allegations contained in Paragraph 38 of Relator’s Second

                          Amended False Claims Act Complaint and leaves Relator to his proofs.

                                 39.     The allegations contained in Paragraph 39 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 40.     The allegations contained in Paragraph 40 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 41.     The allegations contained in Paragraph 41 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 42.     With regard to the allegations contained in Paragraph 42 of Relator’s Second

                          Amended False Claims Act Complaint, Defendant admits that he was an attending physician to

                          patients who resided at Andover. Defendant is without knowledge or information sufficient to form a

                          belief as to the truth of the remaining allegations contained in Paragraph 42 of Relator’s Second

                          Amended False Claims Act Complaint and leaves Relator to his proofs.

                                 43.     With regard to the allegations contained in Paragraph 43 of Relator’s Second

                          Amended False Claims Act Complaint Defendant admits that he was required to provide care to his

                          patients at Andover. Defendant is without knowledge or information sufficient to form a belief as to
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          the truth of the remaining allegations contained in Paragraph 43 of Relator’s Second Amended False
40 PATERSON STREET
NEW BRUNSWICK, NJ         Claims Act Complaint and leaves Relator to his proofs.
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                                 44.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 44 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 45.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 45 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 46.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 46 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 47.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 47 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 48.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 48 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 49.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 49 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 50.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 50 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 51.    Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 51 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 52.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 52 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 53.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 53 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 54.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 54 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 55.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 55 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 56.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 56 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 57.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 57 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 58.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 58 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 59.    Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 59 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 60.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 60 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 61.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 61 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 62.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 62 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 63.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 63 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 64.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 64 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 65.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 65 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 66.    Defendant denies the allegations contained in Paragraph 66 of Relator’s Second

                          Amended False Claims Act Complaint to the extent such allegations may be deemed to be directed

                          against this Defendant.

                                 67.    The allegations contained in Paragraph 67 of Relator’s Second Amended False
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to
40 PATERSON STREET
NEW BRUNSWICK, NJ         these allegations except to deny any such allegations which may be deemed to be directed against
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        this Defendant.
HAMMONTON, NJ 08037

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                                 68.    Defendant denies the allegations contained in Paragraph 68 of Relator’s Second

                          Amended False Claims Act Complaint to the extent such allegations may be deemed to be directed

                          against this Defendant.

                                 69.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 69 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 70.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 70 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 71.    To the extent that the allegations set forth in Paragraph 71 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 72.    To the extent that the allegations set forth in Paragraph 72 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 73.    To the extent that the allegations set forth in Paragraph 73 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 74.    To the extent that the allegations set forth in Paragraph 74 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 75.    The allegations contained in Paragraph 75 of Relator’s Second Amended False
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to
40 PATERSON STREET
NEW BRUNSWICK, NJ         these allegations except to deny any such allegations which may be deemed to be directed against
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        this Defendant.
HAMMONTON, NJ 08037

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                                 76.    To the extent that the allegations set forth in Paragraph 76 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 77.    To the extent that the allegations set forth in Paragraph 77 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 78.    To the extent that the allegations set forth in Paragraph 78 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 79.    To the extent that the allegations set forth in Paragraph 79 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 80.    To the extent that the allegations set forth in Paragraph 80 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 81.    The allegations contained in Paragraph 81 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 82.    To the extent that the allegations set forth in Paragraph 82 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 83.    To the extent that the allegations set forth in Paragraph 83 of Relator’s Second
40 PATERSON STREET
NEW BRUNSWICK, NJ         Amended False Claims Act Complaint are directed against this Defendant, the allegations are
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        denied.
HAMMONTON, NJ 08037

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                                 84.     The allegations contained in Paragraph 84 of Relator’s Second Amended False

                          Claims Act Complaint are not directed against this Defendant and, therefore, no answer is made to

                          these allegations except to deny any such allegations which may be deemed to be directed against

                          this Defendant.

                                 85.     To the extent that the allegations set forth in Paragraph 85 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 86.     To the extent that the allegations set forth in Paragraph 86 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 87.     To the extent that the allegations set forth in Paragraph 87 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 88.     To the extent that the allegations set forth in Paragraph 88 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 89.     To the extent that the allegations set forth in Paragraph 89 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 90.     With regard to the allegations contained in Paragraph 90 of Relator’s Second

                          Amended False Claims Act Complaint, this Defendant repeats and reiterates each and every

                          response to prior allegations as if same were set forth herein at length.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 91.     To the extent that the allegations set forth in Paragraph 91of Relator’s Second
40 PATERSON STREET
NEW BRUNSWICK, NJ         Amended False Claims Act Complaint are directed against this Defendant, the allegations are
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        denied.
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                                 92.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 92 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 93.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 93 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 94.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 94 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 95.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 95 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 96.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 96 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 97.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 97 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 98.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 98 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 99.    Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 99 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
08901

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                                 100.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 100 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 101.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 101 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 102.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 102 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 103.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 103 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 104.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 104 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 105.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 105 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 106.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 106 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 107.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 107 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
08901

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                                 108.   To the extent that the allegations set forth in Paragraph 108 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 109.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 109 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 110.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 110 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 111.   To the extent that the allegations set forth in Paragraph 111 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 112.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 112 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 113.   To the extent that the allegations set forth in Paragraph 113 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 114.   To the extent that the allegations set forth in Paragraph 114 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 115.   To the extent that the allegations set forth in Paragraph 115 of Relator’s Second
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are
40 PATERSON STREET
NEW BRUNSWICK, NJ         denied.
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                                 116.   To the extent that the allegations set forth in Paragraph 116 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 117.   To the extent that the allegations set forth in Paragraph 117 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 118.   To the extent that the allegations set forth in Paragraph 118 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 119.   To the extent that the allegations set forth in Paragraph 119 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 120.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 120 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 121.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 121 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 122.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 122 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 123.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 123 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
08901

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                                 124.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 124 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 125.   To the extent that the allegations set forth in Paragraph 125 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 126.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 126 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 127.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 127 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 128.   To the extent that the allegations set forth in Paragraph 128 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 129.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 129 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 130.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 130 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 131.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 131 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
08901

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                                 132.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 132 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 133.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 133 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 134.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 134 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 135.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 135 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 136.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 136 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 137.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 137 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 138.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 138 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 139.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 139 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 140.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 140 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 141.   To the extent that the allegations set forth in Paragraph 141 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 142.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 142 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 143.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 143 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 144.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 144 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 145.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 145 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 146.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 146 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 147.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 147 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 148.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 148 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 149.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 149 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 150.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 150 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 151.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 151 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 152.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 152 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 153.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 153 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 154.   Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 154 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 155.   Defendant is without knowledge or information sufficient to form a belief as to the truth
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          of the allegations contained in Paragraph 155 of Relator’s Second Amended False Claims Act
40 PATERSON STREET
NEW BRUNSWICK, NJ         Complaint and leaves Relator to his proofs.
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                                 156.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 156 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 157.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 157 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 158.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 158 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs.

                                 159.    To the extent that the allegations set forth in Paragraph 159 of Relator’s Second

                          Amended False Claims Act Complaint are directed against this Defendant, the allegations are

                          denied.

                                 160.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 160 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          160 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 161.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 161 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          161 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 162.    Defendant is without knowledge or information sufficient to form a belief as to the truth
40 PATERSON STREET
NEW BRUNSWICK, NJ         of the allegations contained in Paragraph 162 of Relator’s Second Amended False Claims Act
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph
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                          162 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 163.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 163 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          163 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 164.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 164 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          164 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 165.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 165 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          165 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 166.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 166 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          166 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 167.    Defendant is without knowledge or information sufficient to form a belief as to the truth
40 PATERSON STREET
NEW BRUNSWICK, NJ         of the allegations contained in Paragraph 167 of Relator’s Second Amended False Claims Act
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph
HAMMONTON, NJ 08037

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                          167 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 168.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 168 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          168 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                 169.    Defendant is without knowledge or information sufficient to form a belief as to the truth

                          of the allegations contained in Paragraph 169 of Relator’s Second Amended False Claims Act

                          Complaint and leaves Relator to his proofs. To the extent that the allegations set forth in Paragraph

                          169 of Relator’s Second Amended False Claims Act Complaint are directed against this Defendant,

                          the allegations are denied.

                                                                      COUNT ONE

                                 170.    As to Paragraph 170 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 171.    Defendant denies the allegations set forth in Paragraph 171 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 172.    Defendant denies the allegations set forth in Paragraph 172 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 173.    Defendant denies the allegations set forth in Paragraph 173 of Relator’s Second

                          Amended False Claims Act Complaint.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 174.    Defendant denies the allegations set forth in Paragraph 174 of Relator’s Second
40 PATERSON STREET
NEW BRUNSWICK, NJ         Amended False Claims Act Complaint.
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202               WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          Second Amended False Claims Act Complaint together with costs and counsel fees.




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                                                                    COUNT TWO

                                 175.    As to Paragraph 175 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 176.    This Defendant denies the allegations set forth in Paragraph 176 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 177.    This Defendant denies the allegations set forth in Paragraph 177 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 178.    This Defendant denies the allegations set forth in Paragraph 178 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 179.    This Defendant denies the allegations set forth in Paragraph 179 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 180.    This Defendant denies the allegations set forth in Paragraph 180 of Relator’s Second

                          Amended False Claims Act Complaint.

                                         WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing

                          Relator’s Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                   COUNT THREE

                                 181.    As to Paragraph 181 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 182.    This Defendant denies the allegations set forth in Paragraph 182 of Relator’s Second

                          Amended False Claims Act Complaint.
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                 183.    This Defendant denies the allegations set forth in Paragraph 183 of Relator’s Second
40 PATERSON STREET
NEW BRUNSWICK, NJ         Amended False Claims Act Complaint.
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202               WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          Second Amended False Claims Act Complaint together with costs and counsel fees.




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                                                                   COUNT FOUR

                                 184.    As to Paragraph 184 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 185.    This Defendant denies the allegations set forth in Paragraph 185 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 186.    This Defendant denies the allegations set forth in Paragraph 186 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 187.    This Defendant denies the allegations set forth in Paragraph 187 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 188.    This Defendant denies the allegations set forth in Paragraph 188 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                    COUNT FIVE

                                 189.    As to Paragraph 189 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 190.    This Defendant denies the allegations set forth in Paragraph 190 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 191.    This Defendant denies the allegations set forth in Paragraph 191 of Relator’s Second
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Amended False Claims Act Complaint to the extent that the allegations are directed against this
40 PATERSON STREET
NEW BRUNSWICK, NJ         Defendant.
08901

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                                 192.    This Defendant denies the allegations set forth in Paragraph 192 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 193.    This Defendant denies the allegations set forth in Paragraph 193 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 194.    This Defendant denies the allegations set forth in Paragraph 194 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                     COUNT SIX

                                 195.    As to Paragraph 195 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 196.    This Defendant denies the allegations set forth in Paragraph 196 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 197.    This Defendant denies the allegations set forth in Paragraph 197 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 198.    This Defendant denies the allegations set forth in Paragraph 198 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 199.    This Defendant denies the allegations set forth in Paragraph 199 of Relator’s Second
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Amended False Claims Act Complaint.
40 PATERSON STREET
NEW BRUNSWICK, NJ                WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Second Amended False Claims Act Complaint together with costs and counsel fees.
HAMMONTON, NJ 08037

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                                                                   COUNT SEVEN




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                                 200.    As to Paragraph 200 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 201.    This Defendant denies the allegations set forth in Paragraph 201 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 202.    This Defendant denies the allegations set forth in Paragraph 202 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 203.    This Defendant denies the allegations set forth in Paragraph 203 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 204.    This Defendant denies the allegations set forth in Paragraph 204 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 205.    This Defendant denies the allegations set forth in Paragraph 205 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                   COUNT EIGHT

                                 206.    As to Paragraph 206 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 207.    This Defendant denies the allegations set forth in Paragraph 207 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 208.    This Defendant denies the allegations set forth in Paragraph 208 of Relator’s Second
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Amended False Claims Act Complaint.
40 PATERSON STREET
NEW BRUNSWICK, NJ                WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Second Amended False Claims Act Complaint together with costs and counsel fees.
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                                                                    COUNT NINE




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                                 209.    As to Paragraph 209 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 210.    This Defendant denies the allegations set forth in Paragraph 210 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 211.    This Defendant denies the allegations set forth in Paragraph 211 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 212.    This Defendant denies the allegations set forth in Paragraph 212 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 213.    This Defendant denies the allegations set forth in Paragraph 213 of Relator’s Second

                          Amended False Claims Act Complaint.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                    COUNT TEN

                                 214.    As to Paragraph 214 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 215.    This Defendant denies the allegations set forth in Paragraph 215 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 216.    This Defendant denies the allegations set forth in Paragraph 216 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Defendant.
40 PATERSON STREET
NEW BRUNSWICK, NJ                217.    This Defendant denies the allegations set forth in Paragraph 217 of Relator’s Second
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202        Amended False Claims Act Complaint to the extent that the allegations are directed against this
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          Defendant.




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                                 218.    This Defendant denies the allegations set forth in Paragraph 218 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 219.    This Defendant denies the allegations set forth in Paragraph 219 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                                  COUNT ELEVEN

                                 220.    As to Paragraph 220 of Relator’s Second Amended False Claims Act Complaint, this

                          Defendant repeats and reiterates each and every response to prior allegations as if same were set

                          forth at length herein.

                                 221.    This Defendant denies the allegations set forth in Paragraph 221 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 222.    This Defendant denies the allegations set forth in Paragraph 222 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 223.    This Defendant denies the allegations set forth in Paragraph 223 of Relator’s Second

                          Amended False Claims Act Complaint to the extent that the allegations are directed against this

                          Defendant.

                                 224.    This Defendant denies the allegations set forth in Paragraph 224 of Relator’s Second
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Amended False Claims Act Complaint to the extent that the allegations are directed against this
40 PATERSON STREET
NEW BRUNSWICK, NJ         Defendant.
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202               WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          Second Amended False Claims Act Complaint together with costs and counsel fees.




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                                                                     COUNT TWELVE

                                 1.      This Defendant repeats and reiterates each and every response to prior allegations as

                          if same were set forth at length herein.

                                 2.      This Defendant denies the allegations set forth in Paragraph 2 of Count Twelve of

                          Relator’s Second Amended False Claims Act Complaint to the extent that the allegations are

                          directed against this Defendant.

                                 3.      This Defendant denies the allegations set forth in Paragraph 3 of Count Twelve of

                          Relator’s Second Amended False Claims Act Complaint to the extent that the allegations are

                          directed against this Defendant.

                                 4.      This Defendant denies the allegations set forth in Paragraph 4 of Count Twelve of

                          Relator’s Second Amended False Claims Act Complaint to the extent that the allegations are

                          directed against this Defendant.

                                 5.      This Defendant denies the allegations set forth in Paragraph 5 of Count Twelve of

                          Relator’s Second Amended False Claims Act Complaint to the extent that the allegations are

                          directed against this Defendant.

                                 WHEREFORE, Defendant Sanjay K. Jain, M.D., demands judgment dismissing Relator’s

                          Second Amended False Claims Act Complaint together with costs and counsel fees.

                                                           FIRST AFFIRMATIVE DEFENSE

                                 Some or all of the claims in the Second Amended False Claims Act Complaint fail to state a

                          claim upon which relief can be granted.

                                                         SECOND AFFIRMATIVE DEFENSE

                                 Some or all of the claims in the Second Amended False Claims Act Complaint are barred by
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          the doctrines of res judicata, collateral estoppel and/or the law of the case.
40 PATERSON STREET
NEW BRUNSWICK, NJ                                          THIRD AFFIRMATIVE DEFENSE
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202               Relator’s claims are barred pursuant to the Doctrines of Unclean Hands, Release, Waiver,
HAMMONTON, NJ 08037

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                          and Laches.




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                                                          FOURTH AFFIRMATIVE DEFENSE

                                  Relator cannot establish that Defendant Sanjay K. Jain, M.D. acted with scienter, to establish

                          a False Claims Act violation.

                                                            FIFTH AFFIRMATIVE DEFENSE

                                  Relator cannot establish that Defendant, Sanjay K. Jain, M.D., knowingly presented or

                          caused to be presented false claims to the government, to establish a False Claims Act violation.

                                                           SIXTH AFFIRMATIVE DEFENSE

                                  Relator cannot establish that he suffered damages that were proximately caused by any

                          alleged False Claims Act violation committed by Defendant, Sanjay K. Jain, M.D.

                                                          SEVENTH AFFIRMATIVE DEFENSE

                                  Some or all of the relief sought by Relator against Defendant, Sanjay K. Jain, M.D., including

                          the potential amount of treble damages and/or civil penalties to be awarded, violates the Excessive

                          Fines Clause in the Eighth Amendment of the United States Constitution.

                                                           EIGHTH AFFIRMATIVE DEFENSE

                                  Upon information and belief, subject to further discovery, some or all of the damages

                          allegedly suffered by Relator resulting from alleged False Claims Act violations committed by

                          Defendant, Sanjay K. Jain, M.D., were offset by payments previously received by Relator from other

                          settling parties.

                                                           NINTH AFFIRMATIVE DEFENSE

                                  Some or all of Relator's claims are barred by the statute of limitations.

                                                           TENTH AFFIRMATIVE DEFENSE

                                  Defendant, Sanjay K. Jain, M.D.’s actions were in good faith and Defendant had reasonable
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          grounds to believe that his actions were in conformity with existing law.
40 PATERSON STREET
NEW BRUNSWICK, NJ                                         ELEVENTH AFFIRMATIVE DEFENSE
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202                Any damages sustained by Relator were caused by the actions of inactions of parties over
HAMMONTON, NJ 08037

169 MAPLE AVENUE
RED BANK, NJ 07701
                          which this Defendant had no control or the right to control.




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                                                         TWELTH AFFIRMATIVE DEFENSE

                                  Relator’s claims are unconstitutional to the extent that any federal or state law, or

                          amendments thereto, is applied ex post facto.

                                                       THIRTEENTH AFFIRMATIVE DEFENSE

                                  Relator’s claims are barred, in whole or in part, by the Court's prior Orders.

                                                      FOURTEENTH AFFIRMATIVE DEFENSE

                                  The Second Amended False Claims Act Complaint fails to allege fraud with particularity as

                          required by Fed. R. Civ. P. 9(b).

                                                        FIFTEENTH AFFIRMATIVE DEFENSE

                                  The claims in the Second Amended False Claims Act Complaint for damages are barred, in

                          whole or in part, by the doctrine of consent and/or ratification because the United States with

                          knowledge of Defendant’s wrongful conduct, if any, continued to pay, authorize for payment or

                          approve payment of claims for unnecessary services, if any, that were rendered throughout the

                          relevant time period.

                                                        SIXTEENTH AFFIRMATIVE DEFENSE

                                  Defendant, Sanjay K. Jain, M.D., reserves the right to assert such additional defenses as

                          may be asserted by other Defendants in the case, or as may be revealed through the course of

                          continuing investigation, analysis and discovery.

                                  WHEREFORE, Defendant, Sanjay K. Jain, M.D., demands judgment dismissing the Second

                          Amended False Claims Act Complaint with prejudice, awarding Defendant attorney's fees and costs,

                          and such other relief as the Court deems just.

                                                                    CROSSCLAIMS
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                                  Defendant, Sanjay K. Jain, M.D., by way of Crossclaims against any and all Co-Defendants,
40 PATERSON STREET
NEW BRUNSWICK, NJ         says:
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202                                                   FIRST COUNT
HAMMONTON, NJ 08037

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RED BANK, NJ 07701




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                                    1.     Although Defendant, Sanjay K. Jain, M.D., denies any liability whatsoever, he

                          nonetheless asserts that any and all injuries and damages sustained by Relator were the proximate

                          result of the negligence of Co-Defendants and demand contribution from Co-Defendants for the

                          proportionate share of any and all sums that may be adjudged against these Defendants in this

                          action.

                                    WHEREFORE, Defendant, Sanjay K. Jain, M.D., demands a judgment of contribution from

                          Co-Defendants together with interest, counsel fees, costs of suit, and such other relief as this Court

                          deems appropriate and equitable.

                                                                    SECOND COUNT

                                    1.     Defendant, Sanjay K. Jain, M.D., repeats and realleges each and every allegation

                          contained in the First Count as if the same were more fully set forth at length herein and made a part

                          hereof.

                                    2.     Although Defendant, Sanjay K. Jain, M.D., denies any liability whatsoever, he

                          nonetheless asserts that any and all injuries and damages sustained by Relator were the proximate

                          result of the negligence of Co-Defendants which negligence was primary and active, and if this

                          Defendant is found liable to Relator with respect to said injuries and damages, such liability resulted

                          solely from secondary, imputed, vicarious or passive negligence, and Co-Defendants are liable to

                          this Defendant, by way of common law indemnification, for any and all sums which this Defendant

                          may be required to pay in this action.

                                    WHEREFORE, Defendant, Sanjay K. Jain, M.D., demands judgment, by way of full

                          indemnification, against Co-Defendants for any and all sums which this Defendant may be required

                          to pay in this action, together with interest, counsel fees, costs of suit, and such other relief as this
HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP
                          Court deems appropriate and equitable.
40 PATERSON STREET
NEW BRUNSWICK, NJ                                         ANSWER TO ALL CROSSCLAIMS
08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202                  Defendant, Sanjay K. Jain, M.D., by way of answer to any and all Crossclaims, says:
HAMMONTON, NJ 08037

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RED BANK, NJ 07701




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                                  This Defendant denies each and every allegation contained in Co-Defendants' Cross-claims

                          and, therefore, leave Cross-claimants to their proofs.

                                                         DESIGNATION OF TRIAL COUNSEL

                                  Benjamin H. Haftel, Esq. (ID# 030331989) has been designated as trial counsel on behalf of

                          Defendant, Sanjay K. Jain, M.D., in the above-captioned matter.

                                                                     JURY DEMAND

                                  Defendant, Sanjay K. Jain, M.D., hereby demands a trial by jury on all issues.

                                           CERTIFICATION OF COUNSEL PURSUANT TO L. CIV. R. 11.2

                                  I certify that this matter is not the subject of any other action pending in any court, or of

                          any pending arbitration or administrative proceeding; no other action, arbitration or administrative

                          proceeding is contemplated to my knowledge; and I know of no other parties who should be joined in

                          this action at this time.


                                                                                 HOAGLAND, LONGO, MORAN,
                                                                                   DUNST & DOUKAS, LLP
                                                                                 Attorneys for Defendant
                                                                                 Sanjay K. Jain, M.D.




                                                                                 By:
                                                                                       BENJAMIN H. HAFTEL
                          Dated: April 22, 2019




HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP

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                                                            CERTIFICATION OF SERVICE

                                 I certify that the within Answer to the Second Amended False Claims Act Complaint was

                          served on this date via electronic delivery upon all counsel of record via ECF filing.


                                                                                HOAGLAND, LONGO, MORAN,
                                                                                  DUNST & DOUKAS, LLP
                                                                                Attorneys for Defendant
                                                                                Sanjay K. Jain, M.D.




                                                                                By:
                                                                                      BENJAMIN H. HAFTEL
                          Dated: April 22, 2019




HOAGLAND, LONGO,
MORAN, DUNST &
DOUKAS, LLP

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